    Case: 1:21-cv-06082 Document #: 55 Filed: 01/28/22 Page 1 of 3 PageID #:1158




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 GROUPON, INC.,                                      )
                                                     )
                        Plaintiff,                   ) Case No. 1:21-cv-06082
                                                     )
     v.                                              ) Honorable Judge Charles P. Kocoras
                                                     )
 SUNG SHIN,                                          )
                                                     )
                      Defendant.                     )

                                     NOTICE OF APPEAL
       Defendant Sung Shin hereby appeals to the United States Court of Appeals for the Seventh

Circuit from this Court’s Order entered on January 6, 2022 (Dkt. No. 50), granting Plaintiff

Groupon, Inc.’s Motion for Preliminary Injunction that precludes Defendant Shin from working at

Yelp, Inc., among other terms. Defendant Shin also appeals from this Court’s denial of Defendant

Shin’s Motion to Dismiss for Lack of Personal Jurisdiction (Fed. R. Civ. P. 12(b)(2)), or in the

Alternative, Motion to Transfer Venue (Dkt. No. 54). This Court’s denial of Defendant Shin’s

Motion to Dismiss, or in the Alternative, Motion to Transfer Venue is “inextricably intertwined”

with this Court’s grant of the Plaintiff’s preliminary injunction motion, making the denial

appealable now under pendant jurisdiction before the Court of Appeals. See Rsch. Automation,

Inc. v. Schrader-Bridgeport Int'l, Inc., 626 F.3d 973, 976–77 (7th Cir. 2010) (citations omitted).
       Defendant Shin seeks to have the orders reversed, with this case remanded for entry of an

order denying Plaintiff’s motion for preliminary injunction, and granting Defendant’s Motion to

Dismiss, or in the Alternative, Motion to Transfer Venue.

DATED:         January 28, 2022              MacDONALD HOAGUE & BAYLESS

                                             By: /s/ Jesse Wing
                                                  Jesse Wing, Illinois Bar #90784355
                                                  Jeffrey Taren, Illinois Bar #2796821
                                                  705 Second Avenue, Suite 1500
                                                  Seattle, WA 98104
                                                  Phone: (206) 622-1604
Case: 1:21-cv-06082 Document #: 55 Filed: 01/28/22 Page 2 of 3 PageID #:1159



                                       Email:   jessew@mhb.com
                                                jeffreyt@mhb.com
                                       Attorneys for Defendant Sung Shin




                                    -2-
    Case: 1:21-cv-06082 Document #: 55 Filed: 01/28/22 Page 3 of 3 PageID #:1160




                                  CERTIFICATE OF SERVICE

       The undersigned further certifies that on January 28, 2022, she electronically filed the

foregoing Notice of Appeal with the Clerk of Court using the CM/ECF system which will send

notification to the following counsel of record:

       Kevin M. Cloutier (6273805)
       Shawn D. Fabian (6310637)
       SHEPPARD MULLIN RICHTER & HAMPTON LLP
       70 West Madison Street, 48th Floor
       Chicago, Illinois 60602
       Tel: (312) 499-6300
       Fax: (313) 499-6301
       kcloutier@sheppardmullin.com
       sfabian@sheppardmullin.com
       Attorneys for Plaintiff Groupon, Inc.


                                                       /s/ Jesse Wing
                                                     Jesse Wing, Illinois Bar # 90784355




                                                   -3-
